      Case 1:18-cv-00719-CCR          Document 136         Filed 04/25/22    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

BLACK LOVE RESISTS IN THE RUST, by and
through its Co-Directors Natasha Soto and Shaketa
Redden and on behalf of its members; DORETHEA
FRANKLIN, TANIQUA SIMMONS, DE’JON HALL,
and JANE DOE, individually and on behalf of a class of
all others similarly situated,

                                     Plaintiffs,

       v.                                                      Case No.: 1:18-cv-719


CITY OF BUFFALO, N.Y.; BYRON B. BROWN,
Mayor of the City of Buffalo, in his individual and
official capacities; BYRON C. LOCKWOOD,
Commissioner of the Buffalo Police Department, in his
individual and official capacities; DANIEL DERENDA,
former Commissioner of the Buffalo Police Department,
in his individual capacity; AARON YOUNG, KEVIN
BRINKWORTH, PHILIP SERAFINI, ROBBIN
THOMAS, UNKNOWN SUPERVISORY
PERSONNEL 1-10, UNKNOWN OFFICERS 1-20,
each officers of the Buffalo Police Department, in their
individual capacities,

                                     Defendants.



                             NOTICE OF APPEARANCE

              PLEASE TAKE NOTICE, that the undersigned hereby appear on behalf of

Defendant the City of Buffalo in the above-captioned matter, and that we hereby demand service

upon us of a copy of all subsequent written communications, pleadings, notices, or other papers.
          Case 1:18-cv-00719-CCR     Document 136     Filed 04/25/22     Page 2 of 2




Dated: Buffalo, New York
       April 25, 2022
                                         HODGSON RUSS LLP
                                         Attorneys for Defendant the City of Buffalo


                                         By: s/ David A. Short
                                                David A. Short, Esq.
                                                Adam W. Perry, Esq.
                                                Hugh M. Russ, Esq.
                                                Peter A. Sahasrabudhe, Esq.
                                         The Guaranty Building
                                         140 Pearl Street, Suite 100
                                         Buffalo, New York 14202-4040
                                         Telephone: (716) 856-4000
                                         dshort@hodgsonruss.com
                                         aperry@hodgsonruss.com
                                         hruss@hodgsonruss.com
                                         psahasra@hodgsonruss.com




017635.00062 Litigation 16123481v2
